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IN THE UNITED STATE DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

JOEL JEFFRIES and COLLEEN JEFFRIES

Plaintiffs,

v. CASE NO. 07 C 3394
°o STAR FLASH, INC., d/b/a FLASH CAB CoO.,
an Illinois Corporation, and 303 TAXI, LLC, an
Mlinois Limited Liability Company,

Defendants.

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AFFIDAVIT OF DAVE GAUER

I, Dave Gauer, am over 18 years of age and make the following
Statements on my own personal knowledge under oath and, if sworn as a
witness, I could testify competently to the following matters:

1. ] am a managing member of 303 Taxi, LLC (“303 Taxi”). As such, I
have authority to make this affidavit on behalf of 303 Taxi.

2. 303 Taxi is an Illinois limited liability company with its principal
place of business in the City of Mt. Prospect, County of Cook, State of Illinois.
It was founded and formed in January, 1994.

3. 303 Taxi is solely in the business of providing taxi dispatch
Services to its subscribers or “affiliates” for a flat monthly fee.

4, 303 Taxi provides dispatch services to taxis in the suburbs
surrounding Chicago.

EXHIBIT

“4 A

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5. 303 Taxi enters into written and oral Subscription Agreements
with owners of vehicles that are licensed and equipped as taxicabs, 303
provides computer dispatch terminals and affixes large reflective stickers
bearing the “303 Taxi” markings as well as additional signage indicating “THIS
VEHICLE OWNED BY (registered owner)” and “OWNER AFFILIATED WITH 303
TAXI LLC”.

6. Contrary to Plaintiffs’ assertion in paragraph 6 of the Complaint,
303 Taxi has never operated, owned, or maintained a taxi cab.

7. 303 Taxi has never employed any of its affiliates. 303 Taxi’s
relationship with its affiliates is that of independent contractor.

8. 303 Taxi has never placed any affiliates on its payroll or provided
compensation to any of its affiliates.

9. 303 Taxi has never had the authority to hire, fire, discipline or to
otherwise exert any control over its affiliates.

10. 303 Taxi’s affiliates have always been free to solicit and accept
business on the streets of any community where properly licensed. At no time
has 303 Taxi ever attempted to restrict its affiliates’ freedom to solicit and
accept such business.

11. 303 Taxi has never required its affiliates to provide it with any trip
sheets or other records of the activities of their drivers, or otherwise account to

303 Taxi for amounts collected from passengers.

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12. 303 Taxi has never been responsible for the payment of any
federal, state and local taxes imposed by law with respect to any income earned
by its affiliates.

13. Contrary to Plaintiffs’ assertion in paragraph 23 of Count I of the
Complaint, 303 Taxi is not a subsidiary or a corporate affiliate of 5 Star Flash,
Inc.

Under penalties of perjury and those provided by law pursuant to 28
U.S.C. § 1746, I, Dave Gauer, certify that the statements set forth in this
Affidavit are true and correct.

FURTHER AFFIANT SAYETH NOT.

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Dated Dave Gauer
Member of 303 Taxi, LLC.

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